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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

BARRY GREEN, as Personal Representative of
the Wrongful Death Estate of MADDUX SAUL,
a deceased minor child, and JAMES SAUL, individually,

         Plaintiffs,
                                                               Case No.: CIV 23-00775
vs.

UNITED STATES OF AMERICA; EIGHT
NORTHERN INDIAN PUEBLOS COUNSEL,
INC. d/b/a BUTTERFLY HEALING CENTER, and
TAOS PUEBLO TRIBAL POLICE DEPARTMENT,

         Defendants.

                           COMPLAINT FOR WRONGFUL DEATH
                                       I.     INTRODUCTION
      This is a civil action arising under the Federal Tort Claims Act (FTCA), 28 USC §§ 1346(b) and

2671 et. seq. against the United States of America (“United States”), Eight Northern Indian Pueblos

Counsel, Inc (“ENIP”) d/b/a Butterfly Healing Center, and Taos Pueblo Tribal Police Department,

in Taos Pueblo, New Mexico. At all material times hereto, Defendant United States provided federal

funding to ENIP to operate the Butterfly Healing Center residential treatment facility, owned and

operated by ENIP, as an Indian Health Service facility under the authority of the Public Health

Service, Department of Health and Human Services, located on Taos Pueblo, as well as Taos Pueblo

Tribal Police Department. Pursuant to applicable law, administrative claims and notices of claims

were timely filed against the proper agencies, and all procedures required prior to the

commencement of the suit were completed. Pursuant to 28 CFR §14.9(a), Plaintiffs now bring this

suit.
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                     II.     PARTIES, JURISDICTION, AND VENUE

1. Plaintiff Barry Green brings this case as the Personal Representative of the Wrongful Death

    Estate of Maddux Saul, a deceased minor, under the New Mexico Wrongful Death Act, §

    41-2-3, NMSA 1978, and is a resident of the city of Santa Fe, Santa Fe County, State of New

    Mexico, and is the proper party to bring this action.

2. Plaintiff Green also brings this case on behalf of Plaintiff James Saul, the biological father of

    Maddux Saul, for loss of consortium.

3. Maddux Saul, deceased, was a resident of the City of Albuquerque, Bernalillo County, State

    of New Mexico.

4. At all times relevant to the Complaint, Maddux Saul was in the physical custody and care of

    Defendant, the Butterfly Healing Center.

5. Upon information and belief, Defendant, Eight Northern Indian Pueblos Counsel, Inc.

    (“ENIP”) d/b/a Butterfly Healing Center owned and operated the Butterfly Healing Center,

    a residential behavioral health and substance abuse treatment program provider for

    adolescents. The Butterfly Healing Center provides in-patient substance abuse counseling

    and emotional counseling. Defendant Butterfly Healing Center is operating as a domestic

    non-profit corporation. It maintains a registered agent for service of process in Taos Pueblo,

    New Mexico.

6. Upon information and belief, Defendant Taos Pueblo Tribal Police Department maintains a

    registered agent for service of process in Taos Pueblo, New Mexico, and was at all relevant

    times acting within the course and scope of their employment when they responded to the

    Butterfly Healing Center on or about September 11, 2021.

7. At all relevant times, Defendant United States of America, by and through its agency, the

    Department of Health & Human Services, funded the Butterfly Healing Center and the Taos
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   Pueblo Tribal Police Department through a contract issued pursuant to Public Law 638 (also

   known as 25 USC 450 et. seq. or the Indian Self-Determination and Education Assistance

   Act (ISEAA) and thereby owned, controlled, operated, maintained, administered, manned,

   and conducted the Butterfly Healing Center and Taos Pueblo Tribal Police Department

   through the ISEAA contract.

8. At all relevant times, the agents, apparent agents, employees, mental health and healthcare

   providers at the Butterfly Healing Center were acting within the course and scope of their

   employment and/or agency with the Butterfly Healing Center and the United States of

   America through the ISEAA contract.

9. The Defendant United States is liable for the acts of the Butterfly Healing Center, its

   employees, agents, and apparent agents who were acting within the scope of their

   employment, apparent employment, agency, or master-servant relationship through the

   Butterfly Healing Center’s Public Law 638 contract with the United States of America.

10. The Defendant United States is liable for the acts of the Taos Pueblo Tribal Police

   Department, its employees, agents, and apparent agents who were acting within the scope of

   their employment, apparent employment, agency, or master-servant relationship through the

   Public Law 638 contract with the United States of America.

11. Jurisdiction is proper with this Court pursuant to 28 USC §§ 1346(b).

12. Venue is proper with this Court pursuant to 28 USC § 1391(b) and 1402(b).

                       III.    FACTS COMMON TO ALL CLAIMS

13. Maddux Saul was seventeen (17) years old (DOB 06/27/2004) at the time of the events

   which make the basis of this Complaint.
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14. On or about September 10, 2021, at approximately 7:42 p.m. MST, Maddux Saul was

    readmitted to the Butterfly Healing Center after taking a temporary absence to attend the

    funeral of his grandmother.

15. The following morning, on September 11, 2021, at approximately 1:00 a.m. MST, Maddux

    Saul was found unresponsive with agonal breathing and a weak pulse.

16. No life saving measures were taken by the Butterfly Healing Center, other than calling 911.

17. Mr. Maddux Saul was in cardiac arrest.

18. Two tribal officers with the Taos Pueblo Tribal Police Department presented to the facility

    and gave Maddux Saul Narcan thinking this was a drug overdose. The Narcan administration

    was unsuccessful.

19. At 1:20 a.m. MST, EMS arrived on scene and CPR was implemented for the very first time.

20. Maddux Saul was transported to Holy Cross Hospital in critical condition.

21. A life flight to Colorado Children’s Hospital was requested by Holy Cross Hospital.

22. Unfortunately, Maddux Saul died mid-flight.

23. He was pronounced dead at 9:55 a.m. MST on September 11, 2021.

24. A urinalysis obtained at Holy Cross Hospital revealed there were no drugs in Maddux Saul’s

    system.

25. His cause of death was ruled “undetermined.”

              COUNT I: NEGLIGENCE BY BUTTERFLY HEALING CENTER

26. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

27. At all times material, Defendant Butterfly Healing Center owed Maddux Saul a duty to

    exercise reasonable care and diligence proportionate with the known and inherent risks in

    safeguarding its patients from harm.
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28. At all times material, Defendant Butterfly Healing Center failed to provide timely,

    appropriate, urgent, and necessary medical treatment to Maddux Saul.

29. Butterfly Healing Center’s failure to protect Maddux Saul from harm constituted a breach of

    its duty to safeguard Maddux Saul from harm.

30. Butterfly Healing Center breached its general and specific duties of care which proximately

    caused damages and death to Maddux Saul.

31. Butterfly Healing Center breached its duty to exercise ordinary care which proximately

    caused damages and death to Maddux Saul.

32. Butterfly Healing Center breached its duty to exercise ordinary care which proximately

    caused damages to Plaintiffs.

     COUNT II-NEGLIGENT EMPLOYMENT BY THE BUTTERFLY HEALING
                                                   CENTER
33. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

34. At all times material, Defendant Butterfly Healing Center had a duty to exercise ordinary

    care in the hiring, training, retention, and supervision of its employees.

35. Defendant Butterfly Healing Center breached its duty of ordinary care in the hiring, training,

    retention, and supervision of its employees.

36. The certification, training, experience, and level of education of certain employees indicates

    that they were not qualified to be employed in a work environment where they would have

    direct supervisory authority over the minors housed at the Butterfly Healing Center.

37. Upon information and belief, the Butterfly Healing Center knew or reasonably should have

    known that its employees were not qualified for the positions they maintained, and that they

    were negligent in their care of Maddux Saul while fulfilling their duties as Butterfly Healing

    Center employees.
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38. These employees’ conduct was enabled and made possible by the Butterfly Healing Center’s

    negligence in hiring, training, supervising, and retaining these employees.

39. As a direct result of the Butterfly Healing Center’s negligent hiring, training, supervision, and

    retention of unqualified employees, Maddux Saul sustained damages and death.

40. As a direct result of Defendant Butterfly Healing Center’s negligent hiring, training,

    supervision, and retention of unqualified employees, Plaintiffs suffered damages.

                         COUNT III: PROFESSIONAL MALPRACTICE

41. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

42. Defendant Butterfly Healing Center owed a duty of professional care to Maddux Saul.

43. In its role as a residential behavioral health and psychiatric medical provider, the Butterfly

    Healing Center had a professional duty to provide appropriate treatment and therapy to

    adolescent patients with behavioral or psychiatric disorders and substance abuse problems.

44. In treating Maddux Saul, a resident patient, the Butterfly Healing Center had a professional

    duty to provide medically appropriate treatment.

45. The Butterfly Healing Center knew or should have known that its programs, treatments, and

    employees were unqualified to supervise and treat Maddux Saul.

46. The Butterfly Healing Center’s conduct in allowing these individuals to supervise and treat

    Maddux Saul constituted a breach of its professional duty of care.

47. The Butterfly Healing Center further breached its duty of professional care by failing to

    provide appropriate monitoring, treatment, and therapy for Maddux Saul.

48. The Butterfly Healing Center’s breach of its professional duty of care proximately caused

    damages and death to Maddux Saul.
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49. The Butterfly Healing Center’s breach of its professional duty of care proximately caused

    damages to Plaintiffs.

                             COUNT IV: NEGLIGENT SUPERVISION

50. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

51. Defendant, the Butterfly Healing Center, owed a duty of care to Maddux Saul that included a

    duty to adequately supervise the patients in its care and to take reasonable steps to prevent

    foreseeable harm to its patients.

52. The Butterfly Healing Center’s failure to adequately supervise Maddux Saul, and its failure to

    perform lifesaving measures when he was in cardiac arrest constituted a breach of duty.

53. The Butterfly Healing Center’s breach of its duty of care proximately caused damages and

    death to Maddux Saul.

54. The Butterfly Healing Center’s breach of its duty of care proximately caused damages to

    Plaintiffs.

COUNT V: BREACH OF CONTRACT/IMPLIED CONTRACT THIRD PARTY
                         BENEFICIARY

55. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

56. Eight Northern Indian Pueblos, Inc. (“ENIP”), entered into a contract with the United

    States to provide therapeutic residential services and treatment services to the people of New

    Mexico and residents of the Butterfly Healing Center in exchange for payments from the

    United States.
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57. Such contracts imposes duties, obligations, and responsibilities on ENIP and the Butterfly

    Healing Center regarding the safe, appropriate and therapeutic environment provided for the

    Butterfly Healing Center residents.

58. The contract between ENIP and the United States was intended to benefit the class of

    persons to which Maddux Saul belonged, namely, New Mexicans and residents of the

    Butterfly Healing Center.

59. ENIP and the Butterfly Healing Center breached their respective duties and responsibilities

    under the contract.

60. Maddux Saul was a third-party beneficiary of the contract between ENIP and the United

    States.

61. As a direct and proximate result of ENIP and the Butterfly Healing Center’s breaches of this

    contract, Maddux Saul suffered death and damages.

62. As a direct and proximate result of ENIP and the Butterfly Healing Center’s breaches of this

    contract, Plaintiffs suffered injuries and damages.

                                COUNT VI: NEGLIGENCE PER SE

63. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

64. At all times alleged in this Complaint, there were in effect in New Mexico, statutes and

    ordinances which govern and regulated appropriate conduct between treatment centers such

    as the Butterfly Healing Center and its residents.

65. Defendant, the Butterfly Healing Center, violated such statutes and ordinances.

66. As a direct and proximate result of the Butterfly Healing Center’s violation of statutes and

    ordinances specifically designed to protect individuals such as Maddux Saul, Maddux Saul

    sustained damages and died.
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 67. As a direct and proximate result of the Butterfly Healing Center’s violation of statutes and

     ordinances specifically designed to protect individuals such as Maddux Saul, Plaintiffs have

     suffered injuries and damages.

         COUNT VII: NEGLIGENCE AGAINST TAOS PUEBLO TRIBAL POLICE
                              DEPARTMENT

 68. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

     herein.

 69. At all times material, Defendant Taos Pueblo Tribal Police Department owed Maddux Saul a

     duty to exercise reasonable care and diligence as a first responder to administer lifesaving

     measures to a civilian in need of medical attention.

 70. At all times material, Defendant Taos Pueblo Tribal Police Department failed to provide

     timely, appropriate, urgent, and necessary medical treatment to Maddux Saul.

 71. Taos Pueblo Police Department breached its duty to exercise ordinary care which

     proximately caused damages and death to Maddux Saul.

 72. Further, the Taos Pueblo Tribal Police Department’s breach of its professional duty of care

     proximately caused damages to Plaintiff James Saul.

VIII. PROFESSIONAL MALPRACTICE AGAINST TAOS PUEBLO TRIBAL POLICE
                          DEPARTMENT

 73. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as fully set out

     herein.

 74. Defendant Taos Pueblo Tribal Police Department owed a duty of professional care to

     Maddux Saul.

 75. In its role as law enforcement and being the first responders, the Taos Pueblo Tribal Police

     Department had a professional duty to provide life saving measures.
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76. Upon information and belief, the Taos Pueblo Tribal Police Department’s officers are

    trained in first aid, CPR, portable defibrillator use, and wound care, but failed to administer

    any emergency first aid, aside from giving Maddux Saul Narcan which yielded no change in

    Maddux Saul’s condition.

77. Maddux Saul was in cardiac arrest.

78. The Taos Pueblo Tribal Police Department’s failure to administer CPR is a breach of its

    professional duty of care which proximately caused damages and death to Maddux Saul.

79. Further, the Taos Pueblo Tribal Police Department’s breach of its professional duty of care

    proximately caused damages to Plaintiff James Saul.

                        DAMAGES-COMMON TO ALL DEFENDANTS

80. Plaintiffs reallege in full all of the allegations of the foregoing paragraphs as if fully set out

    herein.

81. As a proximate result of Defendants’ negligence and tortious conduct Plaintiffs have

    suffered damages.

82. The conduct of Defendants in this instance constitutes an intentional, willful, wanton,

    grossly negligent, careless and/or reckless disregard for the rights and safety of others,

    including Plaintiffs, entitling Plaintiffs to an award of punitive/exemplary damages.

83. As a direct and proximate result of the Defendants’ negligence, Maddux Saul experienced

    pain and suffering prior to death, mental anguish and distress, loss of earnings, loss of

    earning capacity, loss of enjoyment of life, loss of household services, aggravating

    circumstances attending Defendant’s wrongful acts or neglect, and other damages

    contemplated by law in amounts to be determined at trial.

84. As a direct and proximate result of Defendant’s negligence, Plaintiffs suffered losses from

    the amounts of funeral and commitment services.
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85. As a direct and proximate result of the Defendant’s negligence, Plaintiffs suffered emotional

   distress by the death of Maddux Saul.

86. James Saul is the father of Maddux Saul. He and his son had a close relationship and bond

   with one another. As a direct and proximate result of Defendants’ negligence, James Saul has

   suffered loss of consortium damages.

   WHEREFORE, Plaintiffs pray for judgment as follows: Against Defendants for injuries and

damages caused by their negligence in a sum to be determined and fixed by the trier of fact as to

be fair and just, punitive damages, for court costs, pre- and post judgment interest,

compensatory damages for emotional distress, pain, suffering and all other appropriate relief

deemed just and proper.

                                          JURY DEMAND

   Plaintiff respectfully demands trial by jury on all counts against the Defendants.

                                                   Respectfully Submitted:

                                                   BERENSON & ASSOCIATES, PC

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